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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                CASE NO.: 1:04-CR-010-SPM

MARCIA THURMAN,

           Defendant.
______________________________/

             ORDER EXTENDING DATE FOR SELF-SURRENDER

       Upon consideration, Defendant’s “Motion to Delay Voluntary Surrender”

(doc. 595) is hereby granted. Defendant shall have up to and including 12

o’clock Noon on Wednesday, January 30, 2008 to self-surrender to the United

States Marshal’s office in Gainesville, Florida or to the institution designated by

the Bureau of Prisons.

       SO ORDERED this 20th day of December, 2007.



                                      s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge




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